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FILED
U.S. DISTRICT COURT

UNITED STATES DISTRICT COURTRICT OF MARY LAND

FOR THE DISTRICT OF MARYLAND HAR 13 AMII: 38

CLERK'S OFFICE

PMC/om USAO#2020R00111

UNITED STATES OF AMERICA oe ; .
| | CRIMINAL no NEVO - O// A
v. ; RY DEPUTY
(Possession of Child Pornography, 18

CHELSEA ANN KUYAWA, U.S.C. §§ 2252 A(a)(5)(B), (b)(2);
Forfeiture, 18 U.S.C. § 2253)

Defendant.

 

INFORMATION

COUNT ONE
(Possession of Child Pornography)

The United States Attorney for the District of Maryland charges that:
In or about May 2018, in the District of Maryland, and elsewhere, the defendant,
CHELSEA ANN KUYAWA,

did knowingly possess and knowingly access with intent to view any material that contained a
visual depiction of child pornography, as defined in Title 18, United States Code, Section
2256(8)(A), which depicted a prepubescent minor or a minor who had not attained 12 years of
age and had been mailed, shipped, and transported using any means and facility of interstate and
foreign commerce and in and affecting interstate and foreign commerce by any means, including
by computer, and which was produced using materials that had been mailed, shipped, and
transported in and affecting interstate and foreign commerce by any means, including by
computer, that is, the defendant did possess a Samsung S7 Edge mobile phone, made outside the
state of Maryland, that contained one or more visual depictions of a prepubescent minor,

engaged in sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)
18 U.S.C. §2.
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FORFEITURE
The United States Attorney for the District of Maryland further finds that:

1. The allegations of Count One of this Information are incorporated here.

2. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
| defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 ULS.C. § 2253, 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), as a result of the defendant’s
conviction under Count One of this Information.

Child Pornography Forfeiture
3. As a result of the offenses set forth in Count One of the Information in this case, the
defendant,
CHELSEA ANN KUYAWA,
shall forfeit to the United States:
a. Any visual depiction described in 18 U.S.C..§§ 2252 or 2252A, or any book,

magazine, periodical, film, videotape, or other matter which contains such visual depiction, which

was produced, transported, mailed, shipped or received in violation of Title 18, United States Code, .

Chapter 110;

b. Any property, real or personal, constituting or traceable to gross profits or other

proceeds obtained from the offenses; and

C. Any property, real or personal; used or intended to be used to commit or to promote

the commission of the offenses, including but not limited to the following:

i. Samsung Galaxy S7 edge, Model: SM-G935V, IMEI: 35490408.
Substitute Assets
4, If any of the property described above, as a result of any act of omission of the defendant:

a. cannot be located upon the exercise of due diligence;
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b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

€. has been commingled with other property ‘which cannot be divided without
difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C. § 853,

as incorporated by 18 U.S.C. § 2253(b) arid 28 U.S.C. § 2461(c).

18 U.S.C. §§ 2253, 853, 2461(c) i f
Robért K. Hur
; United States Attorney
Hack PISA,
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